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   NC DHHS to revoke Trails Carolina’s license
   WBTV Investigates: Camp shut down after 12-year-old boy died in February




    WBTV Investigates: Camp shut down after 12-year-old boy died in February


   By Nick Ochsner
   Published: Mar. 28, 2024 at 3:39 PM EDT



   BREVARD, N.C. (WBTV) – A North Carolina wilderness camp has been permanently shut down by state regulators less than two months after a 12-year-
   old boy died at the facility.

   Regulators with the N.C. Department of Health and Human Services notified Trails Carolina on Thursday that its license was being revoked.

   PREVIOUS: All children removed from NC wilderness camp after 12-year-old’s death

   In addition, regulators further suspended the camp’s ability to admit new participants.




                                                   Case 1:24-cv-00046-MOC-SCR Document 30-4 Filed 04/23/24 Page 1 of 3
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   “It has been determined that your facility’s violations of the above Statute endanger the health, safety, and welfare of clients in your facility. Therefore,
               Live intends
   the Department     News toWeather
                             revoke your license,” one letter said.                                                                                          

   Previous: ‘Shame on you.’ Former participants weigh in on NC wilderness camp

   According to the letters, NCDHHS inspectors went to the camp on March 21 for another inspection.




   The letters listed the following violations found during the inspection:

           General Statute 122C-62 Additional Rights in 24-Hour Facilities (V364)
           10A NCAC 27G .0209 Medication Requirements (V118)
           10A NCAC 27G .0603 Incident Response Requirements for Category A and B Providers (V366)
           10A NCAC 27D .0304 Protection from Harm, Abuse, Neglect or Exploitation (V512)
           10A NCAC 27E .0101 Least Restrictive Alternative (V513)




                                                                                                                                                                   




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                                              their license

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                                              #trailscarolina #wildernesstherapy
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   A spokeswoman for Trails Carolina did not immediately respond to an email seeking comment on the regulatory action.

   Thursday’s developments come after a 12-year-old boy died at Trails Carolina in early February.




   Search warrants executed by the Transylvania County Sheriff’s Office said the boy was found lying on his back, stiff and cold, by the time first
   responders got to the scene.

   It’s the second child to die at the camp in a decade.
                                                                                                                                                           
   WBTV has been investigating Trails Carolina since 2021 and has talked with a half-dozen campers who have detailed allegations of abuse and neglect
   while at the camp.
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